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         ORDERED in the Southern District of Florida on June 15, 2023.



                                                         Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                        Fort Lauderdale Division
                                          www.flsb.uscourts.gov


         In re:
                                                                  Case No. 23-14169-SMG
         Retailing Enterprises, LLC,                              Chapter 11

                         Debtor.
         ______________________________/

                                       ORDER GRANTING
                        EX PARTE MOTION FOR EXTENSION OF TIME TO FILE
                        SUMMARY OF ASSETS AND LIABILITIES AND CERTAIN
                    STATISTICAL INFORMATION, SCHEDULES A/B, D, E/F, G AND H,
                  DECLARATION CONCERNING DEBTOR’S SCHEDULES, STATEMENT
                  OF FINANCIAL AFFAIRS, AND LIST OF EQUITY SECURITY HOLDERS

                   THIS MATTER came before the Court without a hearing upon Retailing Enterprises,

         LLC’s (the “Debtor”) Ex Parte Motion for Extension of Time to File Summary of Assets and

         Liabilities and Certain Statistical Information, Schedules A/B, D, E/F, G and H, Declaration

         Concerning Debtor’s Schedules, Statement of Financial Affairs, and List of Equity Security

         Holders [ECF 102] (the “Motion”) in the above-captioned case. The Court, having considered

         the Motion and being fully advised in the premises, hereby
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       ORDERS that:


   1. The Motion is GRANTED.

   2. The deadline for the Debtor to file the Summary of Assets and Liabilities and Certain

       Statistical Information, Schedules A/B, D, E/F, G and H, Declaration Concerning

       Debtor’s Schedules, Statement of Financial Affairs, and List of Equity Security

       Holders is extended through and including June 22, 2023.

   3. No further extensions will be granted absent extraordinary circumstances.

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Submitted by:
Aaron A. Wernick, Esq.
Wernick Law, PLLC
Attorneys for the Debtor
2255 Glades Road, Suite 324A
Boca Raton, Florida 33431
(561) 961-0922
awernick@wernicklaw.com

Aaron A. Wernick, Esq. is directed to serve a copy of this Order on all appropriate parties and
file a Certificate of Service with the Court.
